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UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF INDIANA

FORT WAYNE DIVISION
IN RE:
Fred Heard fdba Heard Trucking, LLC CASE NO. 18-11276-reg
Li|a L. Heard
CHAPTER 7
Debtors

MOTION FOR ORDER AUTHORIZING
ABANDONMENT AND MODIFYING AUTOMATIC STAY

Comes now chen Loan Servicing, LLC, ("Creditor"), by and through its attomey, Codilis Law, LLC, and in

support of its Motion for Order Authorizing Abandonment and Modifying Automatic Stay, states as follows:

l.

The Creditor is the holder of a mortgage on the property located at 6722 Lakeview Court, Fort
Wayne, IN 46815-7922.

The Creditor holds a security interest in said property by way of written instruments, which were perfected
as provided by Iaw. True and exact copies of said instruments, with proof of pcrfection, are attached hereto
and made a part hereof.

0cwen Loan Servicing, LLC services the underlying mortgage loan and note for the property referenced in
this Motion for Relief for 0cwen Loan Servicing, LLC (the noteholder) and is entitled to proceed
accordingly. Should the Automatic Stay be lifted and/or set aside by Order of this Court or if this case is
dismissed or if the debtor obtains a discharge and a foreclosure action is commenced or recommenced, said
foreclosure action will be conducted in the name of 0cwen Loan Servicing, LLC (the noteholder). 0cwen
Loan Servicing, LLC (the noteholder) has the right to foreclose because: Noteholder is the original
mortgagee or beneficiary or assignee of the security instrument for the referenced loan. Noteholder directly
or through an agent has possession of the promissory note and the promissory note is either made payable to
Noteholder or has been duly endorsed.

As of October 3, 2018 the payoff amount is $122,319.90 and the interest rate is 4.75000% per annum.
Schedule D lists other secured creditors with claims totaling $7,523.00 against the real estate.

The real estate is valued at $125,000.00 on the bankruptcy schedules.

The debtors claim an exemption of $9,477.00 with respect to the subject property.

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8. There is no equity in the real estate and it is not needed for an effective reorganization The automatic stay
should be modified pursuant to l l U.S.C. §362(d)(2).

9. Said property is of inconsequential value and benefit to the estate and should be abandoned from the
bankruptcy estate pursuant to l l U.S.C. §554(b).

WHEREFORE, this Creditor requests that:

l. The Automatic Stay of this proceeding be terminated as to this Creditor, its agents, successors and assigns.

2. The subject property be abandoned from the bankruptcy estate.

3. That the Court waive the fourteen day stay of the Order granting this motion, pursuant to Bankruptcy Rule
4001(a)(3); and

4. For any and all other just and proper relief that the Court sees flt.

Attorneys for Creditor

Byr lmni_\-M
Micha J.Kulak 21347-53
Codili aw,LLC

AttyF e: 1030305

This firm is deemed to be a debt collector.

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CERTIFICATE OF SERVICE

l certify that on October 9, 2018, a copy of the attached was filed electronically. Notice of this filing will be sent to

the following parties through the Court's Electronic Case Filing System. Parties may access this filing through the

Court's system.

Frederick W. Wehrwein; wehrweinPC@aol.com
Martin E. Seifert; mseiferttrustee@hallercolvin.com

United States Trustee, N.D., IN; ustpregionlO.so.ecf@usdoj.gov

I further certify that on October 9, 2018, a copy of the attached was mailed by depositing in the U.S. Mail to the

following:

Fred Heard

Lila L. Heard

6722 Lakeview Ct.
Fort Wayne, lN 46815

Codilis Law, LLC

8050 Cleveland Place
Merrillville, IN 46410
(2]9) 736-5579
bankruptcy@codilis.com
Atty File: 1030305

Attomeys for Creditor

     

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RECURDED ON
09/08/2009 OZ:BB:OBPM
JOHN MCGAULEY
ALLEN CUUNTV RECURDER
FURT WA¥NE, IN

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After Recording Return To: REC FEEI 28-00
RquF MORTGAGE CoMPANY INCORPORATED TRANS # 70350
1110 E DUPONT RD

FOR_T WAYNE, Tl\Tl`lThT\TA AERQS

Loan Number:

[Space Above This Line For Recording Datal

lvloRTGAGE pm____
____________

 

THIS MORTGAGE ("Security IrLstrument") is given on AUGUST 24, 2009
The mortgagor is FREDRICK HEARD AND LILA L HEARD HUSBAND AND WIFE

("Borrower").
This Security instrument is given to Mortgage Electronic Registration Systems, Inc. ("MERS") as Mortgagee. MERS
is the nominee for Lender, as hereinafter defined, and Lender‘s successors and assigns. MERS is organized and
existing under the laws of Delaware, and has a mailing address of P.O. Box 2026, Flint, MI 48501-2026 and a street
address of 3300 S.W. 34th Avenue, Suite 101, Ocala, FL 34474, tel. (888) 679-MERS

RUOFF MOR'IGAG‘] CU.VIPANY INCORPORATED, AN INDIANA CORPORATION ("Lender")
is organized and existing under the laws of IND IANA ,
and has an address of lll 0 E DUPONT RD, FORT WAYNE , INDIANA 4 6 8 2 5

Borrower owes Lender the principal sum of ONE HUNDRED THIRTY- SEVEN THOUSAND

EIGHTY-SIX AND 00/100 Dollars(U.S.$ 137,086.00 ).
This debt is evidenced by Borrower's note dated the same date as this Security Instrument ("Note"), which provides
for monthly payinents, with the full debt, if not paid earlier, due and payable on SEPTEMBER l , 2 03 9 .
This Security Instrument secures to Lender: (a) the repayment of the debt evidenced by the Note, with interest,
and all renewals, extensions and modifications of the Note; (b) the payment of all other sulns, with interest,
advanced under paragraph 7 to protect the security of this Security Instrument; and (c) the performance

 

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of Borrower's covenants and agreements under this Security Instrument and the Note. For this purpose,
Borrower does hereby mortgage, grant and convey to MERS (solely as nominee for Lender and Lender's
successors and assigns) and to the successors and assigns of MERS the following described property located in
ALLEN County, Indiana:

I_OTI\UVERZ¢LZ INIPKE KRESI`, SE[II'I(NV, ASRE[[R[ED ]NHKI`RECCHJP, EGES 4`L~42.
A.P.N.: 02-]3-03-126-007.000-0’70

which has the address of 6 7 2 2 LAKEVIEW COURT
[Street]
FOR'I` WAYNE , Indiana 4 6 8 15 ("Property Address"):
[City] [Zip Code]

TOGETHER WITH all the improvements now or hereafter erected on the property, and all easements,
appurtenances and fixtures now or hereafter a part of the property. All replacements and additions shall also be
covered by this Security Instrument. All of the foregoing is referred to in this Security lnstrument as the "Property. "
Borrower understands and agrees that MERS holds only legal title to the interests granted by Borrower in this Security
Instrument; but, if necessary to comply with law or custom, MERS (as nominee for Lender and Lender's successors
and assigns) has the right: to exercise any or all of those interests, including, but not limited to, the right to foreclose
and sell the Property; and to take any action required of Lender including, but not limited to, releasing or canceling
this Security Instrument.

BORROWER COVENANTS that Borrower is lawfully seised of the estate hereby conveyed and has the right to
mortgage, grant and convey the Property and that the Property is unencumbered, except for encumbrances of record.
Borrower warrants and will defend generally the title to the Property against all claims and demands, subject to any
encumbrances of record.

THIS SECURITY INSTRUMENT combines uniform covenants for national use and non-uniform covenants with
limited variations by jurisdiction to constitute a uniform security instrument covering real property.

UN|FOR|V| COVENANTS. Borrower and Lender covenant and agree as follows:

l. Payment of Principal, Interost and Late Charge. Borrower shall pay when due the principal of, and
interest on, the debt evidenced by the Note and late charges due under the Note.

2. Monthly Payment of Taxes, Insurance, and Other Charges. Borrower shall include in each monthly
payment, together with the principal and interest as set forth in the Note and any late charges, a sum for (a) taxes and
special assessments levied or to be levied against the Property, (b) leasehold payments or ground rents on the
Property, and (c) premiums for insurance required under paragraph 4. ln any year in which the Lender must pay a
mortgage insurance premium to the Secretary of Housing and Urban Development ("Secretary"), or in any year in
which such premium would have been required if Lender still held the Security Instrument, each monthly payment
shall also include either: (i) a sum for the annual mortgage insurance premium to be paid by Lender to the Secretary,
or (ii) a monthly charge instead of a mortgage insurance premium if this Security Instrument is held by the Secretary,
in a reasonable amount to be determined by the Secretary. Except for the monthly charge by the Secretary, these items
are called "Escrow lterns" and the sums paid to Lender are called "Escrow Funds. "

Lender may, at any tinte, collect and hold amounts for Escrow Items in an aggregate amount not to exceed the
maximum amount that may be required for Borrower's escrow account under the Real Estate Settlement Procedures
Act of 1974, 12 U.S.C. §2601 Ls_e_q. and implementing regulations, 24 CFR Part 3500, as they may be amended
front time to time ("RESPA ") , except that the cushion or reserve permitted by RESPA for unanticipated disbursements

 

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or disbursements before the Borrower's payments are available in the account may not be based on amounts due for
the mortgage insurance premium.

If the amounts held by Lender for Escrow ltems exceed the amounts permitted to be held by RESPA, Lender shall
account to Borrower for the excess funds as required by RESPA. If the amounts of funds held by Lender at any time
are not sufficient to pay the Escrow lterns when due, Lender may notify the Borrower and require Borrower to make
up the shortage as permitted by RESPA.

The Escrow Funds are pledged as additional security for all sums secured by this Security lnstrument. If
Borrower tenders to Lender the full payment of all such surns, Borrower's account shall be credited with the balance
remaining for all installment items (a), (b), and (c) and any mortgage insurance premium installment that bender has
not become obligated to pay to the Secretary, and Lender shall promptly refund any excess funds to Borrower.
lmmediately prior to a foreclosure sale of the Property or its acquisition by Lender, Borrower's account shall be
credited with any balance remaining for all installments for items (a), (b), and (c).

3. Application of Payments. All payments under paragraphs l and 2 shall be applied by Lender as follows:

FIRST, to the mortgage insurance premium to be paid by Lender to the Secretary or to the monthly charge by

the Secretary instead of the monthly mortgage insurance prernium;

SECOND, to any taxes, special assessments, leasehold payments or ground rents, and fire, flood and other hazard

insurance premiums, as required;

THIRD, to interest due under the Note;

FOURTH, to amortization of the principal of the Note; and

FIFTH, to late charges due under the Note.

4. Fire, Flood and Other Hazard Insurance. Borrower shall insure all improvements on the Property,
whether now in existence or subsequently erected, against any hazards, casualties, and contingencies, including fire,
for which Lender requires insurance. This insurance shall be maintained in the amounts and for the periods that
Lender requires. Borrower shall also insure all improvements on the Property, whether now in existence or
subsequently erected, against loss by floods to the extent required by the Secretary. All insurance shall be carried with
companies approved by Lender. The insurance policies and any renewals shall be held by Lender and shall include
loss payable clauses in favor of, and in a form acceptable to, Lender.

In the event of loss, Borrower shall give Lender immediate notice by mail. Lender may make proof of loss if not
made promptly by Borrower. Each insurance company concerned is hereby authorized and directed to make payment
for such loss directly to Lender, instead of to Borrower and to Lender jointly. All or any part of the insurance
proceeds may be applied by Lender, at its option, either (a) to the reduction of the indebtedness under the Note and
this Security Instrurnent, first to any delinquent amounts applied in the order in paragraph 3, and then to prepayment
of principal, or (b) to the restoration or repair of the damaged Property. Any application of the proceeds to the
principal shall not extend or postpone the due date of the monthly payments which are referred to in paragraph 2, or
change the amount of such payments. Any excess insurance proceeds over an amount required to pay all outstanding
indebtedness under the Note and this Security lnstrument shall be paid to the entity legally entitled thereto.

ln the event of foreclosure of this Security lnstrument or other transfer of title to the Property that extinguishes
the indebtedness, all right, title and interest of Borrower in and to insurance policies in force shall pass to the
purchaser.

5. Occupancy, Preservation, Maintenance and Protection of the Property; Borrower's Loan Application;
Leaseholds. Borrower shall occupy, establish, and use the Property as Borrower's principal residence within sixty
days after the execution of this Security Instrument (or within sixty days of a later sale or transfer of the Property)
and shall continue to occupy the Property as Borrower's principal residence for at least one year after the date of
occupancy, unless Lender determines that requirement will cause undue hardship for Borrower, or unless extenuating
circumstances exist which are beyond Borrower's control. Borrower shall notify Lender of any extenuating
circumstances Borrower shall not commit waste or destroy, damage or substantially change the Property or allow
the Property to deteriorate, reasonable wear and tear excepted. Lender may inspect the Property if the Property is
vacant or abandoned or the loan is in default. Lender may take reasonable action to protect and preserve such vacant
or abandoned Property. Borrower shall also be in default if Borrower, during the loan application process, gave
materially false or inaccurate information or statements to Lender (or failed to provide Lender with any material
information) in connection with the loan evidenced by the Note, including, but not limited to, representations

 

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concerning Borrower's occupancy of the Property as a principal residence. lf this Security Instrument is on a
leasehold, Borrower shall comply with the provisions of the lease. If Borrower acquires fee title to the Property, the
leasehold and fee title shall not be merged unless Lender agrees to the merger in writing.

6. Condemnation. The proceeds of any award or claim for damages, direct or consequential, in connection
with any condemnation or other taking of any part of the Property, or for conveyance in place of condemnation, are
hereby assigned and shall be paid to Lender to the extent of the full amount of the indebtedness that remains unpaid
under the Note and this Security lnstrument. bender shall apply such proceeds to the reduction of the indebtedness
under the Note and this Security lnstrument, first to any delinquent amounts applied in the order provided in
paragraph 3, and then to prepayment of principal. Any application of the proceeds to the principal shall not extend
or postpone the due date of the monthly payments, which are referred to in paragraph 2, or change the amount of such
payments. Any excess proceeds over an amount required to pay all outstanding indebtedness under the Note and this
Security Instrument shall be paid to the entity legally entitled thereto.

7. Charges to Borrower and Protection of Lender's Rights in the Property. Borrower shall pay all
govermnental or municipal charges, lines and impositions that are not included in paragraph 2. Borrower shall pay
these obligations on time directly to the entity which is owed the payment. lf failure to pay would adversely affect
Lender‘s interest in the Property, upon Lender's request Borrower shall promptly furnish to Lender receipts
evidencing these payments.

lf Borrower fails to make these payments or the payments required by paragraph 2, or fails to perform any other
covenants and agreements contained in this Security Instrument, or there is a legal proceeding that may significantly
affect Lender's rights in the Property (such as a proceeding in bankruptcy, for condemnation or to enforce laws or
regulations), then Lender may do and pay whatever is necessary to protect the value of the Property and Lender's
rights in the Property, including payment of taxes, hazard insurance and other items mentioned in paragraph 2.

Any amounts disbursed by Lender under this paragraph shall become an additional debt of Borrower and be
secured by this Security lnstrument. These amounts shall bear interest from the date of disbursement at the Note rate,
and at the option of Lender shall be immediately due and payable.

Borrower shall promptly discharge any lien which has priority over this Security Instrument unless Borrower:
(a) agrees in writing to the payment of the obligation secured by the lien in a manner acceptable to Lender; (b) contests
in good faith the lien by, or defends against enforcement of the lien in, legal proceedings which in the Lender's
opinion operate to prevent the enforcement of the lien; or (c) secures from the holder of the lien an agreement
satisfactory to Lender subordinating the lien to this Security lnstrument. If Lender determines that any part of the
Property is subject to a lien which may attain priority over this Security Instrument, Lender may give Borrower a
notice identifying the lien. Borrower shall satisfy the lien or take one or more of the actions set forth above within
lO days of the giving of notice,

8. Fees. Lender may collect fees and charges authorized by the Secretary.

9. Grounds for Acceleration of Debt.

(a) Default. Lender may, except as limited by regulations issued by the Secretary in the case of payment
defaults, require inunediate payment in full of all sums secured by this Security Instrument if:
(i) Borrower defaults by failing to pay in full any monthly payment required by this Security
Instt'ument prior to or on the due date of the next montlily payment, or
(ii) Borrower defaults by failing, for a period of thirty days, to perform ally other obligations
contained in this Security lnstrument.
(b) Sale Without Credit Approval. Lender shall, if permitted by applicable law (including section 34 l(d)
of the Garn-St. Germain Depository lnstitutions Act of 1982, 12 U.S.C. l70lj-3(d)) and with the prior
approval of the Secretary, require immediate payment in full of all sums secured by this Security Instrurnent if`:
(i) All or part of the Property, or a beneficial interest in a trust owning all or part of the Property, is
sold or otherwise transferred (other than by devise or descent), and
(ii) The Property is not occupied by the purchaser or grantee as his or her principal residence, or the
purchaser or grantee does so occupy the Property, but his or her credit has not been approved in
accordance with the requirements of the Secretary.
(c) No Waiver. If circumstances occur that would permit Lender to require immediate payment in full,
but bender does not require such payments, Lender does not waive its rights with respect to subsequent events.

 

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(d) Regulations of HUD Secretary. In many circumstances regulations issued by the Secretary will limit
Lender's rights, in the case of payment defaults, to require immediate payment in full and foreclose if not
paid. This Security Instrument does not authorize acceleration or foreclosure if not permitted by regulations
of the Secretary.

(e) Mortgage Not lnsured. Borrower agrees that if this Security Instrument and the Note are not
determined to be eligible for insurance under the National Housing Act within 6 0 DAYS

from the date hereo f, Lender may, at its option require immediate payment in full of all sums secured by this
Security lnstrument. A written statement of any authorized agent of the Secretary dated subsequent to

6 0 DAYS from the date hereof. declining to insure this Security Instrulnent and
the Note, shall be deemed conclusive proof of such ineligibility. Notwithstanding the foregoing, this option
may not be exercised by bender when the unavailability of insurance is solely due to Lender's failure to remit
a mortgage insurance premium to the Secretary.

10. Reinstatement. Borrower has a right to be reinstated if bender has required immediate payment in full
because of Borrower's failure to pay an amount due under the Note or this Security lnstrument. This right applies
even after foreclosure proceedings are instituted. To reinstate the Security Instrument, Borrower shall tender in a
lump sum all amounts required to bring Borrower's account current including, to the extent they are obligations of
Borrower under this Security lnstrument, foreclosure costs and reasonable and customary attorneys' fees and expenses
properly associated with the foreclosure proceeding. Upon reinstatement by Borrower, this Security Instrument and
the obligations that it secures shall remain in effect as if Lender had not required immediate payment in full.
However, Lender is not required to permit reinstatement if : (i) Lender has accepted reinstatement after the
commencement of foreclosure proceedings within two years immediately preceding the commencement of a current
foreclosure proceeding, (ii) reinstatement will preclude foreclosure on different grounds in the future, or (iii)
reinstatement will adversely affect the priority of the lien created by this Security lnstrument.

ll. Borrower Not Released; Forbearance by Lender Not a Waiver. Extension of the time of payment or
modification of amortization of the sums secured by this Security lnstrumth granted by Lender to any successor in
interest of Borrower shall not operate to release the liability of the original Borrower or Borrower's successors in
interest. bender shall not be required to commence proceedings against any successor in interest or refuse to extend
time for payment or otherwise modify amortization of the sums secured by this Security lnstrunient by reason of any
demand made by the original Borrower or Borrower's successors in interest. Any forbearance by Lender in exercising
any right or remedy shall not be a waiver of or preclude the exercise of any right or remedy.

12. Successors and Assigns Bound; Joint and Several Liability; Co-Signers. The covenants and agreements
of this Security Instrument shall bind and benefit the successors and assigns of Lender and Borrower, subject to the
provisions of paragraph 9(b). Borrower's covenants and agreements shall be joint and several. Any Borrower who
co-signs this Security lnstrument but does not execute the Note: (a) is co-signing this Security Instrument only to
mortgage, grant and convey that Borrower's interest in the Property under the terms of this Security lnstrument; (b)
is not personally obligated to pay the sums secured by this Security Instrument; and (c) agrees that bender and any
other Borrower may agree to extend, modify, forbear or make any accommodations with regard to the terms of this
Security lnstrument or the Note without that Borrower's consent.

13. Notices. Any notice to Borrower provided for in this Security Instrument shall be given by delivering it or
by mailing it by first class mail unless applicable law requires use of another method. The notice shall be directed
to the Property Address or any other address Borrower designates by notice to Lender. Any notice to Lender shall
be given by first class mail to Lender's address stated herein or any address Lender designates by notice to Borrower.
Any notice provided for in this Security Instrument shall be deemed to have been given to Borrower or Lender when
given as provided in this paragraph.

14. Governing Law; Severability. This Security lnstrument shall be governed by federal law and the law of
the jurisdiction in which the Property is located. In the event that any provision or clause of this Security Instrument
or the Note conflicts with applicable law, such conflict shall not affect other provisions of this Security lnstrumemt
or the Note which can be given effect without the conflicting provision To this end the provisions of this Security
Instrument and the Note are declared to be severable.

15. Borrower's Copy. Borrower shall be given one conformed copy of the Note and of this Security lnstrument.

 

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16. l:lazardous Substances. Borrower shall not cause or permit the presence, use, disposal, storage, or release
of any Hazardous Substances on or in the Property. Borrower shall not do, nor allow anyone else to do, anything
affecting the Property that is in violation of any Enviromnental Law. The preceding two sentences shall not apply
to the presence, use, or storage on the Property of small quantities of Hazardous Substances that are generally
recognized to be appropriate to normal residential uses and to maintenance of the Property.

Borrower shall promptly give Lender written notice of any investigation, claim, demand, lawsuit or other action
by any governmental or regulatory agency or private party involving the Property and any Hazardous Substance or
Environmental Law of which Borrower has actual knowledge If Borrower learns, or is notified by any governmental
or regulatory authority, that any removal or other remediation of any l-lazardous Substances affecting the Property
is necessary, Borrower shall promptly take all necessary remedial actions in accordance with Environmental Law.

As used in this paragraph 16, "Hazardous Substances" are those substances defined as toxic or hazardous
substances by Environrnental Law and the following substances: gasoline, kerosene, other flammable or toxic
petroleum products, toxic pesticides and herbicides, volatile solvents, materials containing asbestos or formaldehyde,
and radioactive materials. As used in this paragraph 16, "Environmental Law" means federal laws and laws of the
jurisdiction where the Property is located that relate to health, safety or environmental protection

NON-UN|FORM COVENANTS. Borrower and Lender further covenant and agree as follows:

17. Assignment of Rents. Borrower unconditionally assigns and transfers to Lender all the rents and revenues
of the Property. Borrower authorizes Lender or Lender's agents to collect the rents and revenues and hereby directs
each tenant of the Property to pay the rents to Lender or Lender's agents. However, prior to Lender's notice to
Borrower of Borrower's breach of any covenant or agreement in the Security Instrument, Borrower shall collect and
receive all rents and revenues of the Property as trustee for the benefit of Lender and Borrower. This assignment of
rents constitutes an absolute assignment and not an assignment for additional security only.

lt` Lender gives notice of breach to Borrower: (a) all rents received by Borrower shall be held by Borrower as
trustee for benefit of Lender only, to be applied to the sums secured by the Security lnstrument; (b) Lender shall be
entitled to collect and receive all of the rents of the Property; and (c) each tenant of the Property shall pay all rents
due and unpaid to Lender or Lender's agent on Lender's written demand to the tenant.

Borrower has not executed any prior assignment of the rents and has not and will not perform any act that would
prevent Lender from exercising its rights under this paragraph l7.

Lender shall not be required to enter upon, take control of or maintain the Property before or after giving notice
of breach to Borrower. However, Lender or a judicially appointed receiver may do so at any time there is a breach.
Any application of rents shall not cure or waive any default or invalidate any other right or remedy of Lender. This
assignment of rents of the Property shall terminate when the debt secured by the Security Instrument is paid in full.

18. Foreclosure Procedure. If Lender requires immediate payment in full under paragraph 9, Lender may
foreclose this Security Instrument by judicial proceeding. Lender shall be entitled to collect all expenses
incurred in pursuing the remedies provided in this paragraph 18, including, but not limited to, reasonable
attomeys' fees and costs of title evidence.

If the Lender's interest in this Security Instrument is held by the Secretary and the Secretary requires
immediate payment in full under paragraph 9, the Secretary may invoke the nonjudicial power of sale provided
in the Single Family Mortgage Foreclosure Act of 1994 ("Act") (12 U.S.C. 3751 et seg.) by requesting a
foreclosure commissioner designated under the Act to commence foreclosure and to sell the Property as provided
in the Act. Nothing in the preceding sentence shall deprive the Secretary of any rights otherwise available to
a Lender under this paragraph 18 or applicable law.

19. Release. Upon payment of all sums secured by this Security Instrument, bender shall release this Security
lnstrument. Lender may charge Borrower a fee for releasing this Security Instrument, but only if the fee is paid to
a third party for services rendered and the charging of the fee is permitted under applicable law.

20. Waiver of Valuation and Appraisement. Borrower waives all right of valuation and appraisement.

 

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21. Riders to this Security lnstrument. If one or more riders are executed by Borrower and recorded together
with this Security Instrument, the covenants of each such rider shall be incorporated into and shall amend and
supplement the covenants and agreements of this Security lnstrument as if the rider(s) were a part of this Security

lnstrument,
[Check applicable box(es)].
[:l Gondominium Rider |:| Graduated Payment Rider |:| Growing Equity Rider
[:] Planned Unit Development Rider \:| Adjustable Rate Rider |:| Rehabilitation Loan Rider
|:| Non-Owner Occupancy Rider E| Other [Specify]

YOU ARE NOT OBLIGATED TO PAY ANY MONEY UNLESS YOU SIGN THIS CONTRACT AND
RETURN IT TO THE SELLER/LENDER.

BY SIGNING BELOW7 Borrower accepts and agrees to the terms contained in pages l through 8 of this Security
Instrument and in any rider(s) executed by Borrower and recorded with it.

(Seal) %</é”"é?< `C‘L`/§G'L'd (seai)

-Borrower LPI L HEARD -Borrower

  

 

 

 

 

 

 

 

(S¢al) (Seal)
-Borrower -Borrower
(Seal) (Seal)
-Borrower -Borrower
Witness: Witness:
FHA |NDlANA MORTGAGE ~ MERS g M - m _
lNMTGZ.FHA l l/Ol/OS Page 7 of 8 ac ogle www.dac£;::;;:,;;:rzl

inmng fha m\l

lumlgz lha mn

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[Spaca Be|ow This Line For Acknow|edgment]

Scate of Indiana

 

 

SS:
County of
Before Ine, £/77 bLj l /0 /
misl»L_ day or 200? , FREDRICK HEARD AND LILA L
HEARD

 

 

acknowledged the execution of the annexed mortgagel

 

Notary ig ture
Officia| Seal
§|mi'y A. Rennecker
len Cou t
n y Printed/Typed Name Notary Public

Commlssion Expires .luly 16, 2014

 

My commission expires:
(Seal) County of residence:

This instrument was prepared by: g fnb/47 QMLALCL(A/

I affirm, under the penalties for perjury, that I have taken reasonable care to redact each Social Security number in
this document, unless required by law.

Meridian rule Corporati<>n guild / QM/IML/¢/

 

 

1230 Ruston PaSS, Sui'f€ C Signature of P/eparer

FOI‘{ Wayne, IN 46825
FHA |NDlANA MORTGAGE - MERS DDCMBgiC am 800'649¢7362
|NMTGZ.FHA 11/01/08 PEIge 8 Of 8 www,dccmlgic_cnm

    
 
 
 

CaS`€ 18-11276-|’€Q ' ‘D`O"C 24 Pa

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REC FEE: 14.00

WWR #- TRANS # 98758
A§§§M§MF_MQK[QAQ§

For valuable consideration received, Mortgage Electronic Registration Systems, lnc., as nominee
for Ruoff Mortgage Company Inoorporated, an lndiana Corporation, hereby sells, assigns, transfers to
' GMAC Mortgage, LLC, whose address is c/o GMAC Mortgage Corporation, 500 Enterprise Rd., Ste l50,

Horsham, PA 19044, its successors and assigns, all of its right, title and interest in and to that certain

| Mortgage Deed executed by Fredrick Heard. and Lila L. Heard, as Mortgagors, to Mortgage Electronic
l Registration Systems, Inc., as nominee for RuoffMortgage Company Incorporated, an lndiana Corporation.
l dated August 24, 2009, and recorded in the Of’fice of the Recorder of Allen County, State of Indiana, on
September 8, 2009. as lnstrument No. 2009046775, together with the indebtedness secured by the

Mortgage,
l sEI-: LEGAL oEscluP'rloN ATrAcuso As sxmnrr “A”
§ Dared this _Z._I;H§ley of . 20 l o.
' By:

 

 

mm Asslstant Secretmy

cong Msrs g Co.
Mortgage Electronic Registration Systems, Inc. 03 N°M- br M

State of l SMq/vggr A )

County of w o/‘,'/Maf, )

eZ dry of FQ/~J£ ,2olo, before me, o Nomy Publlo, personally appeared
‘ who being duly swom, affixed that person 's sipature.

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Printed: zith .j/ @|5’361"1’\ " mm 'Npé¢plreereo.zs, 2014 v
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My Commission Expires:

This instrument prepared by: Zarksis V. Daroga, Attomey at Law
l aflirm, under the penalties for peljury, that I have taken reasonable care to redact each Social Security
number in this document, unless required by law.

Xh|:his a true and certified copy of a
s e same appears on rd in m office as
s% z

~ - ' Document #
jj mimms mnbo“rg + 605 Witn€$$= y and_!§nd seal is date: .. tO{ ;;L 2015
515 Vll'l€ d, 35 m Allen C Recorder M

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EXHlBlT A.

LOT NUMBER 242 IN LAKE FOREST, SECTION V, AS RECORDED IN PLAT RECORD 29, PAGES
41-42.

Commonly known ass 6722 Lakeview Court, Fort Wayne, Indiana 46815

Allen County Recorder Document #: -

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2013047436
RECORDED: 08/15/2013 08:24:15 AM
JOHN MCGAULEY
ALLEN COUNTY RECORDER
FORT WAYNE, IN

When Reoorded Return To
|ndecomm G|oba| Servlces
2925 Country Drlve
St Pau|, MN 55117

Assignment of Mortgage
D'¢lu-.'u August l‘, ¢u13

For value received GMAC Mortgage, LLC, ln clo 0cwen Loan Servicing, LLC, 1100 Virginia Drive, Sulte175, Fort
Washlngton, PA 19034, the underslgned hereby grants, asslgns and transfers to 0cwen Loan Servlcing, LLC, 1100
Virg|nla Drlva, Suite 175, Fort Wash|ngton, PA 19034, all beneflclal lnterest under a certain Mortgage dated August
24, 2009 executed by FREDR|CK HEARD AND L|LA L HEARD and recorded ln Book XX on Page(s) XX as Document
Number 2009046775 on September 8, 2009 of the offlclal records of the County Recorder of Allen County, lndiana

GMAC Mortgage, LLC

‘” W%CU

Llsa Marle Spurbeck.
Asslstant Vlce President

COUNTY Ramsey ) SS

On August 12, 2013 before me, Sandra Jean Klnnunen , Notal'y Pub|lc ln and for sald State personally appeared
Llsa Marie Spurbeck , Asslstant Vlce President of GMAC Mortgage, LLCl personally known to me to be the person
whose name ls subscrlbed to the wlthln lnstrument and acknowledged to me that s/he executed the same ln hls/her
authorlzed capaclty, and that by hrs/her slgnature on the instrument the entlty upon behalf of whlch the person acted,
executed the lnstrument W|TNESS my hand and offlcla| seal

Thls instrument was prepared by
Dave Huston
|ndecomm Globa| Servlces

2925 Country Drlve _
St pau|' MN 55117 Sandra Jean Klnnunen, Noiary Pub|le

My Commlsslon explres January 31, 2016

/‘

 

SANDRA JEAN K|NNUNEN

Notary Pub|lc~Mlnnesota
My Commlulorl Explras Jan 31, 2013

 

Allen County Recorder Documenl: #‘.-

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FHA Case No.

 

 

AUGUST 2 4 , 2 0 0 9 FORT WAYNE IND IANA
|Dnlc] [Cily| lStale|

6 72 2 LAKEVIEW COURT, FORT WAYNE , INDIANA 4 6 8 15
[l’ropcl‘ty l\tltlrcss|

1. PART|ES

"Borrovl'er" means each person sigllillg at the end of tllis Note, and the person's successors and assigns.
"Lender" means RUOE`F MORTGAGE COMPANY INCORPORATED, AN INDIANA
CORPOR.ATION alld its successors alld assigns.

2. BORROWER'S PRON||SE TO PAY; |NTEREST
lll return for n loan received from Lender, Borrower promises to pay the principal sulll ot`
ONE HUNDRED THIRTY#SEVEN THOUSAND EIGHTY-SIX AND OO/lOO

Dollars(U.S.$ 137,086.00 ),
plus interest. to the order of Lender. lnterest will be charged on unpaid prillcipal, frolll the date of disbursement of
tlle lolln proceeds by Lender. at the rate of FI`V'E AND 5 0 0 / lOO O percent
( 5 . 5 0 0 ‘7r.-) per year until the full amount of principal has been paid.

3. PRO|V||SE TO PAY SECURED

Borrower's promise to pay is secured by n lllortgnge, deed of trust or similar security instrument that is dated
the same date as this Note and called the "Security lllstrulncnt." The Security instrument protects the Lender from
losses which llligllt result if Borrower defaults under this Note.

4. lVlANNER OF PAY|V|ENT

(A) Time

Borrower shall make a payment ot`prillcipal and interest to Lender on tlle lSl', day of each lnolltll beginning
on OCTOBER l, 2 009 . Any principal and interest remaining on tlle lSt clay of
SEPTEMBER, 203 9 , will be due on that date. which is called tlle "Maturity Date."

(B) Place
Paynlent shall be made at 1110 E DUPONT RD, FORT WAYNE, ' INDIANA 46825

, or at such other place

as Lender may designate ill writing by notice to Borrower.

(C) Amount

Each monthly payment of principal and interest will be ill the amount of U.S. $ 778 . 36 .
This amount will be part ol`a larger monthly payment required by the Security lnstrulllent, that shall be applied to
principul, interest and other items ill the order described ill the Security lnstrument.

(D) Allonge to this Note for Pa_vment Atljustments

lfall llllonge providing for payment adjustments is executed by Borrower together with this Note. the covenants
ot` the allonge shall be incorporated into and shall amend and supplement the covenants of this Note as it` the allonge
were a part of this Note.

 

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(Check applicable box.)

|:] Growing Equity Allonge
m Graduated Paynlent Allonge
l:] Other [specify|:

5. BORROWER'S RlGHT TO PREPAY

Borrower has tlle rigllt to pay tlle debt evidenced by this Note, ill wllole or ill part, without charge or penalty,
oil tlle first day of ally montll. Lender shall accept prepayment on other days provided that Borrower pays interest
oil the amount prepaid for tlle remainder of tlle month to the extent required by Lender and permitted by regulations
of tlle Secretary. lf Borrower makes a partial prepayment, there will be llo changes ill the due date or in tlle amount
of tlle lllolltllly payment unless Lender agrees ill writing to those challges.

6. BORROWER‘S FA|LURE TO PAY

(A) Late Charge for Overdue Payments

lf Lender has llot received the full monthly payment required by tlle Security lnstnmlent, as described ill
Paragraph 4(C) of this Note, by tlle end of fifteen calendar days after tlle payment is due, Lender nlay collect a late
charge ill tlle amount of FOUR AND 000/1000 percent( 4 . 0 0 0 %)
of tlle overdue amount of eacll payment.

(_B) Dcf`ault

lf` Borrower defaults by failing to pay ill full ally monthly payment, then Lender may, except as limited by
regulations of the Secretary ill die case of paylllellt defaults. require immediate payment ill full ofthe principal balance
remaining due and all accrued illterest. Lender may choose llot to exercise this option without waiving its rights ill
tlle event of`any subsequent default. lll lllally circumstances. regulations issued by tlle Secretary will limit Lender's
rights to require immediate payment ill full ill tlle case ofpaylllellt def`au|ts. Tllis Note does llot authorize acceleration
when llot permitted by HUD regulatiolls. As used ill this Note, "Secretary" means tlle Secretary of Housing and
Urban Development or his or her designee.

(C_) Paylllent of` Costs lllltl Expenses

lf Lender has required immediate payment ill full, as described above, Lender lllay require Borrower to pay costs
and expenses including reasonable and customary attorneys' fees for enforcing this Note to tlle extent llot prohibited
by applicable law. Such fees and costs shall bear interest fronl the date of disbursement at the sanle rate as tlle
principal of this Note.

7. WA|VERS

Borrower and ally other person who has obligations ullder this Note waive tlle rights t_)fpresentnlent and notice
of dishonor. "Presentment" means tlle rigllt to require Lender to demand payment of amounts due. "Notice of
Disllonor" means tlle rigllt to require l.ender to give notice to other persons that amounts due have llot been paid.

8. G|V|NG OF NOT|CES

Unless applicable law requires a different method, ally notice that lllust be given to Borrower ullder this Note
will be given by delivering it or by mailing it by first class lllail to Borrower at tlle Property Address above or at a
different address if` Borrower has given Lender a notice of Borrower's different address.

Ally notice that lllust be given to Lender ullder this Note will be given by delivering it or by mailing it by first
class mail to Lender at the address stated in Paragraph 4(B) or at a different address if Borrower is given a notice of
that different address.

9. OBL|GAT|ONS OF PERSONS UNDER TH|S NOTE

|f lllore than olle person signs this Note‘ each person is fully and personally obligated to keep all of tlle promises
lllade ill this Note, including tlle promise to pay tlle full amount owed. Ally person who is a guarantor, surety or
endorser of this Note is also obligated to do these thillgs. Any person who takes over these obligations, including
tlle obligations ol`a guarantor_ surety or endorser of this Note, is also obligated to keep all of tlle promises lllade ill

 

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this Note. Lender may enforce its rigllts ullder this Note against each person individually or against all signatories
togetller. Any olle person signing this Note ltlay be required to pay all of tlle amounts owed ullder this Note.

BY SlGNlNG BELOW. Borrower accepts and agrees to tlle terms and covenants contained ill this Note.

 

\ t
(Seal)

` C(R(W’Z{ (Seal)

 

 

 

-Bu rrower L I LA L HEARD -Borrower

 

 

 

(Seal) (Seal)
-Borrower -Borrower
(Seal) (Seal)
-Borrower -Borrower

Fay to the order 0|'

 

PAY TO 'I`HE ORDER OF:

wITHouT RECOURSE A"’ B"""" mda GMAC B°""

RUOFF MORTGAGE COMPANY INCORPOR.ATED, AN INDIANA CORPOR.ATION

BY:
D D L.

ITS: PRESIDENT - RUOFF MORTGAGE COMPANY

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MULT|STATE - FHA FlXED RATE NOTE
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PAY 10 me 0 LLC

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investor Loan # |-

CuStodian lD;
This document was prepared by 0cwen Loan Scrviein g2 LLC

After Recording Return To:
0cwen Loan Servicing, LLC
Attention'. Loss Mitigation
3700 J Strcet SW

Suite 555

Cedar Rapids, IA 52404

[Space Above This Line F or Recording Data]

 

HOME AFFORDABLE MODIFICATION AGREEMENT

Borrower (“l"): FREDRICK HEARD LU_,A L HEARD

Lender/Scrvicer or Agent for Lender/Servicer (“Lender”): 0cwen Loan Servic`tng, LLC
Date of first lien Security lnstrument (“Mortgage”} and Note (“Notc”): August 24, 200901§9
Loan Number:_i

Property Address (“Property”): 6?22 LAKEVLEW COURT FORT WAYNE lN 46815

maj mpgu,$g )37, Oh/él do

Il` my representations in Section 1 continue to be true in all material respects, then this Modification
Agreenlcnt (“Agreemcnt”} wi|l, as Set f`orlh in Section 3, amend and supplement (i) the Mortgage on the
Property, and (2) the Note secured by the Mortgage The Note is secured by a Mortgage, Deed of Trust, or
Deed to Secure Debt (the “Security lnstrument”), dated the same dale as the Note, and iI` applicable,
recorded on Septernber 08, 2009 with Instrument Number 2009046775 in Book and/or Page number of
the real property records of ALLEN County, lN. Said Security lnstrument covers the real and personal
property described in such Security instrument (the “Property”) located at 6?22 LAKEVIEW COURT
FORT WAYNE IN 46815, which real property is more particularly described as follows The Mortgage
and Note together, as they may previously have been amended, are referred to as the “Loan Documents”.
Capitalized terms used in this Agteernent and not defined have the meaning given to them ill Loan
Documcnts.

(Legal Description -» Attached as Exhihit if` Recording Agrecment)

This Agreement will not take effect unless the preconditions set forth in Section 2 have been satisfied

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l. My Representatjons. I cenit`y, represent to Lender and agree:

A. l am experiencing a financial hardship, and as a result, (i) l am in default under the Loan
Documcnts, and (ii) 1 do not have sufficient income or access to sufficient liquid assets to
make the monthly mortgage payments now or in the near future;

B. l live in the Property as my principal residence, and the Property has not been condemned;

C. There has been no change in the ownership of the Property since l signed the Loan
Documents;

D. l have provided documentation for all income that l receive (and l understand that l am not
required to disclose child support or alimony unless l chose to rely on such income
when requesting to qualify for a modification of the Loan Documcnts);

E. Under penalty of perj ury, all documents and information l have provided to Lender in
connection with this Agreement, including thc documents and information regarding my
eligibility for thc Program, are true and correct; and,

F. lf Lender requires me to obtain credit counseling in connection with the Program, l will do
so; and,

G. l have made or will make all payments required under a Trial Period Plan or Loan
Workout Plan.

H. if l was discharged in a Chapter 7 bankruptcy proceeding subsequent to the execution of
the Loan Documents. Based on this representation, Lender agrees that l will not have
personal liability on the debt pursuant to this Agreemcnt.

2. Ackoowledgements and Precoltditioos to Moditication. I understand and acknowledge that:

A. TIME IS OF THE ESSENCE under this Agreement;

B. If prior to the Modification Eff`ective Date as set forth in Section 3 the Lender determines that
my representations in Section 1 are no longer true and correct, the Loan Documcnts will not be
modified and this Agrecmcnt will terminate 111 this event, the Lender will have all of the rights
and remedies provided by the Loan Documents; and

C. l understand that thc Loan Documents will not be modified unless and until (i) l receive from
the Lender a copy of this Agrecment signed by the Lender, and (ii) the Modiiication Effective
Date (as defined in Scction 3) has occurred l further understand and agree that the Lender
will not be obligated or bound to make any modification of the Loan Documents if l fail to
meet any one of the requirements under this Agreement.

3. The Modilication. lf my representations in Section 1 continue to bc true in all material respects
and all preconditions to tile modification set forth in Section 2 have been met, the Loan Docunlents
will automatically become modified on .lanuary 01, 2014 (the “Modiiication Effectivc Date") and
all unpaid |atc charges that remain unpaid will bc waived The Loan Documents will be modified
and the first modified payment will be due on .lanuary Ol, 2014.

A. The new Maturity Date will be: Decernbcr 01, 2043.

B. The modified Principal balance of my Note will include all amounts and arrearages that will be
past due (excluding unpaid late charges) less any amounts paid to the Lender but not
previously credited to my Loan. The new Priilcipai balance of my Note will be 8127,956.20

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(the “New Principal Balance”)_

lnterest at the rate 0[`4.750% will begin to accrue on the New Principal Balance as of

December 01, 2013 and the first new monthly payment on the New Principal Balance will be
due on .lanuary 01, 2014. My payment schedule for thc modified Loan is as follows:

 

Rate

lnterest Interest Rate

Change Date

Monthly
Principal
and
Interest
Payment
Amount

Moothly
Escrow
Payment
Amount

Total
Monthly
Payment

Payment
Begins On

Payment Ends On

 

4.750%

 

Dcccn'ibcr Ol, 20| 3

 

 

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$273.14,
may adjust
periodically

 

 

5940.62,
may adjust
periodically

 

January 01, 2014

 

Decernber 01, 2043

 

4.

*The escrow payments may be adjusted periodically in accordance with applicable law and
therefore my total monthly payment may change accordingly

The above terms in this Section 3.C. shall supersede any provisions to the contrary in the Loan
Doeuments, including but not limited to, provisions for an adjustable, step interest rate or

simple interest rate.

I understand that, if I have a pay option adjustable rate mortgage loan, upon modification, the
minimum monthly payinth option, the interest-only or any other payment options will no
longer be offered and that the monthly payments described in the above payment schedule for
my modified Loan will be the minimum payment that will bc due each month for the remaining
term of the Loan. My modified Loan Will not have a negative amortization feature that would
allow me to pay less than the interest due resulting in any unpaid interest to be added to the
outstanding principal balance

D. l will be in default if l do not comply with the terms of the Loan Documcnts, as modified by

this Agreement.

_l'l';

if a default rate of interest is permitted under the Loan Documents, then in the event of default

under the Loan Documcnts, as amended, the interest that will be due will be the rate set forth in

Section 3.C.

Additional Agreements. l agree to the following:

A. That all persons who signed the Loan Documents or their authorized representative(s) have
signed this Agreement, unless (i) a borrower or co-borrower is deceased; (ii) the borrower or
co-borrower are divorced and the property has been transferred to one spouse in the divorce
decree which was recorded, the spouse who no longer has an interest in the property need not
sign this Agreement (although the non-signing spouse may continue to be held liable f`or the
obligation under the Loan Documcnts; or (iii) the Lender has waived this requirement in

writing

B. That this Agreement shall supersede the terms of any modification, forbearancc, Trial Period
Plan or Workout Plan that l previously entered into with Lender.

C. To comply, except to the extent that they are modified by this Agreement, with all covenants,

 

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agreements, and requirements of Loan Documents including my agreement to make all
payments of taxcs, insurance premiums, assessments, Escrow lterns, impounds, and all other
payments, the amount of which may change periodically over the term of my Loan.

. That this agreement constitutes notice that the Lendcr’s waiver as to payment of Escrow ltems,

if any, has been revoked, and l have been advised of the amount needed to fully fund my
escrow account

. Funds for Escrow Items. l will pay to the Lender on the day payments are due under the

Loan Documents as amended by this Agreemcnt, until the Loan is paid in full, a sum (the
“Funds”) to provide for payment of amounts due for: (a) taxes and assessments and other
items which can attain priority over the Mortgage as a lien or encumbrance on the Property;
(b) leasehold payments or ground rents on the Property, if any; (c) premiums for any and all
insurance required by Lender under the Loan Documents; (d) mortgage insurance premiums in
accordance with the Loan Documents; and (e) any community association dues, fecs, and
assessments the Lender requires to be escrowed These items are called “Escrow Items”. l
shall promptly furnish to Lender all notices of amounts to be paid under this Section 4.D. l
shall pay Lender the Funds for Escrow lterns unless Lender waives my obligation to pay the
Funds for any or all Escrow ltems. Lender may waive my obligation to pay to Lender Funds
for any or all Escrow ltcms at any time. Any such waiver may only be in writing ln the event
of such waiver, l shall pay directly, when and where payable, the amounts due for any Eserow
ltcms for which payment of Funds has been waived by Lender and, if Lender requires, shall
furnish to Lender receipts evidencing such payment within such time period as Lender may
roquire. My obligation to make Such payments and to provide receipts shall for all purposes
be deemed to be a covenant and agreement contained in the Loan Documents, as the phrase
“covenant and agreement” is used in the Loan Documents. lf 1 am obligated to pay Escrow
items directly, pursuant to a waiver, and l fail to pay the amount due for an Escrow ltcm,
Lender may exercise its right under the Loan Documents and this Agreement and pay such
amount and l shall then be obligated to repay to Lender any such amount. Lender may revoke
the waiver as to any or all EScrOw ltems at any time by a notice given in accordance with the
Loan Documents, and, upon such revocation, l shall pay to Lender all Funds, and in such
amounts, that arc then required under this Section 4.D.

Lender may, at any time, collect and hold Funds in an amount (a) sufficient to permit Lender to
apply the Funds at the time specified under the Real Estatc Settlcment Procedurcs Act
(“RESPA”), and (b) not to exceed the maximum amount a lender can require under RESPA.
Lender shail estimate the amount of Funds due on the basis of current data and reasonable
estimates of expenditures of future Escrow ltems or otherwise in accordance with applicable
law.

The funds shall be held in an institution whose deposits are insured by a federal agency,
instrumentality, or entity (including Lender, if Lender is an institution whose deposits are so
insured) or in any Federal Home Loan Bank. Lender shall apply the Funds to pay the Escrow
ltcms no later than the time specified under RESPA. Lender shall not charge me for holding
and applying the Funds, annually analyzing thc escrow account, or verifying the Escrow lterns,
unless Lender pays me interest on the Funds and applicable law permits Lender to make such a
charge Unless an agreement is made in writing or applicable law requires interest to be paid
on the Funds, Lender shall not be required to pay me any interest or earnings on the Funds.
Lender and l can agree in writing, however, that interest shall be paid on the Funds. Lender
shall provide me, without charge, an annual accounting of the Funds as required by RESPA.

lf there is a surplus of Funds held in cscrow, as defined under RESPA, Lender shall account to
mc for the excess funds in accordance with RES PA. lt` there is a shortage of Funds held in

F.

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escrow, as defined under RESPA, Lender shall notify me as required by RESPA, and l shall
pay to Lender the amount necessary to make up thc shortage in accordance with RESPA, but
in no more than 12 monthly payments lf there is a deficiency of Funds held in escrow, as
defined under RESPA, Lender shall notify me as required by RESPA, and l shall pay to
Lender the amount necessary to make up the deficiency in accordance with RESPA, but in no
more than 12 monthly payments

Upon payment in full of all Sums secured by thc Loan Documcnts, Lender shall promptly
refund to me any Funds held by Lender.

That the Loan Documents arc composed of duly valid, binding agreements enforceable in
accordance with their terms and are hereby reaflinned.'

That all terms and provisions of the Loan Documents, except as expressly modified by this
Agreement, remain in full force and cffect; nothing in this Agrccment shall be understood or
construed to be a satisfaction or release in whole or in part of the obligations contained in the
Loan Documents; and that except as otherwise specifically provided in, and as expressly
modified by this Agreernent, thc Lender and l will be bound by, and will comply with, all of
the terms and conditions of the Loan Documents.

That, as of the Modification Ef`l`cctive Date, notwithstanding any other provision of the Loan
Documents, l agree as follows: lf all or any part of the Property or any interest in it is sold or
transferred without Lender’s prior written consent, Lender may, at its option, require
immediate payment in full of all sums secured by the Mortgagel However, Lender shall not
exercise this option if state or federal law, rules or regulations prohibits the exercise of such
option as of the date of such sale or transfer. if Lender exercises this option, Lender shall give
me notice of acceleration The notice shall provide a period of not less than 30 days from the
date thc notice is delivered or mailed within which l must pay all sums secured by the
Mortgage lf l fail to pay these sums prior to the expiration of this period, Lender may invoke
any remedies permitted by the Mortgage without further notice or demand on me.

That, as of the Modification Eff`ective Date, l understand that the Lender will only allow the
transfer or assumption of the Loan, including this Agreement to a transferee of my property
permitted under the Garn St. Gemiain Act, 12 U.S.C. Section 1701j-3. A buyer or transferee
of the Property will not be permittcd, under any circumstance, to assume the Loan. Exccpt as
noted herein, this Agreemcnt may not, under any circumstances bc assigned to, or assumed by,
a buyer or transferee of the Property.

That, as of the Modification Effective Date, any provision in the Note, as amended for the
assessment of a penalty for full or partial prepayment of the Note is null and void.

That, l will cooperate fully with Lender in obtaining any title endorsement(s), or similar title
insurance product(s), and/or subordination agreement(s) that are necessary or required by the
Lender's procedures to ensure that the modified mortgage Loan is in the first lien position
and/or is fully enforceable upon modification and that ii`, under any circumstances and not
withstanding anything else to the contrary in this Agreement, the Lender does not receive such
title cndorsement(s), title insurance product(s), and/or subordination agreement(s), then the
terms of this Agreement will not become effective on Modif'ication Effective Date and the
Agreement will be null and void

That l will execute such other documents as may be reasonably necessary to either (i)
consummate the terms and conditions of this Agreement; or (ii) correct the terms and
conditions of this Agreement if an error is detected after execution of this Agreement. l
understand that either a corrected Agreemcnt or letter agreement containing the correction will

identifier:_|

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be provided to me for my signature At Lender’s option, this Agreement will be void and of no
legal effect upon notice of such crror. ffI elect not to sign any such corrective documentation,
the terms of the original Loan Documents shall continue in full force and cffect, such terms
will not be modified by this Agrecment, and I will not be eligible for a modification under the
Home Affordable Moditication Program.

. That Lender will collect and record personal information, including but not limited to, my

name, address, telephone number, social security number, credit score, income, payment
history, government monitoring information, and information about account balances and
activity. ln addition, l understand and consent to the disclosures of my personal information
and the terms of the trial period plan and this Agrecment by Lender to (i) the U.S. Department
of the Treasury, (ii) F annie Mae and Froddie Mac in connection with their responsibilities
under the Home Affordability and Stability Plan; (iii) any investor, insurer, guarantor or
serviccr that owns, insures, guarantees or services my first lien or subordinate lien (if
applicablc) mortgage loan(s)', (iv) companies that perform support services for the Home
Affordable Moditication Program and the Second Lien Modifrcation Program; and (v) any
HUD certified housing counselor

. That if`any document related to the Loan Documents and/or this Agreement is lost, misplaccd,

misstated, inaccurater reflects the true and correct terms and conditions of thc Loan as
modified, or is otherwise missing, f will comply with the Lender’s request to execute,
acknowledge, initial and deliver to the Lender any documentation the Lender deems neeessary.
if the Note is replaced, the Lender hereby indemnifics me against any loss associated with a
demand on the Note. All documents the Lender requests of me under this section 4.N. shall be
referred to as “Documcnts”. l agree to deliver the Doeuments within ten (10) days ai"`ter I
receive the Lender’s written request for such replacement

. That the mortgage insurance premiums on my Loan, if applicable may increase as a result of

the capitalization which will result in a higher total monthly payment Furthermore, the date
on which l may request cancellation of mortgage insurance may change as a result of the Ncw
Prineipal Balance.

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ln Witness Whereof`, the Lender and l have executed this Agreemcnt

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1-4- 14 lew/ewth

Date LL’li_n L HEARD

 

 

 

Date

 

Date

BORROWER ACKNOWLEDGMENT

State of :N
County of D\ l left

On this i day of U_mwo.r q , M, before me, the undersigned a Notary Public in and for said county
and state, personally appeared FREDRlCK HEARD LlLA l. HEARD, personally known to me or
identified to my satisfaction to be the person(s) who executed the within instrument, and they duly
acknowledged that said instrument is their act and deed, and that they, being authorized to do so,
executed and delivered said instrument for the purposes therein contained

/MM§

Notary Public COWDW]‘ GLM V|S

My Commission Expires: F%¢Q 92 r;) 02 l

Witness my hand and official seal.

 

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0cwen Loan Scrvicing, LLC

detainee amtan

Titlc: Authorized Ot`t`tcer

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LENDER ACKNOWLEDGMENT

State of lOW
Countyof` §§Q ! §§ &§§ l l gill

On this Hday ofiM_Q%é-Y_)_M bci`o e m_e, thwed, a Notary Public in and for said county

and state personally appeal ij kill , personally known to me or

idcri't'tied to m sa ' action to bc the person who executed the within instrument as
M` ` of 0cwen Loan Servicing, LLC, said instrument is the act and deed of said

entity, and that thcy, being authorized to do so, executed and delivered said instrument for the purposes
therein contained

Witness my hand and official seal. M m g \VMIT~
No§zti§/Public /U'L/)’O/€ 56
My Commission Expires:

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ier COMM[SS|ON NO. 75753?

 

 

 

MY COMMISSlON EXF]RES
0 l ‘ Mal`ch 23, 2015

 

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INDIANA AFFIRMATION STATEMENT

"I aft`irm, under penalties for perjury, that I have taken reasonable care to redact
each Social Security number in this document, unless required by law."

M%ML” Signature

w 551 min !Vlr 14 )i/i~Pt/; Printed Name

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Ceitit'icate ot` Preparation

This is to certify that this instrument Was prepared by chen Loan Servicing, LLC, one

of the parties named in the instrumentl
t§iZ/tad/Mw

Signature

SARAH MCCAHEN
LOSS MITIGATION

0cwen Loan Servicing LLC
Loss Mitigation Department
3451 Hammond Ave
Waterloo, IA 50702
1-800-850-4622

 

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